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               IN THE UNITED STATES COURT OF APPEALS
                      FOR THE SEVENTH CIRCUIT



                                  No. 12-1022



                       UNITED STATES OF AMERICA,
                            Plaintiff-Appellee,

                                       v.

                           DARRICK C. BOROCZK,
                            Defendant-Appellant.



              Appeal from the United States District Court for the
                Northern District of Illinois, Eastern Division

         THE HONORABLE RONALD A. GUZMAN, Judge Presiding
                         No. 09 CR 647



                 BRIEF AND REQUIRED SHORT APPENDIX
                      FOR DEFENDANT-APPELLANT

               [FILED UNDER SEAL – REDACTED VERSION]

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Dated: May 17, 2012
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                          DISCLOSURE STATEMENT

      The undersigned counsel of record for Defendant-Appellant Darrick C.

Boroczk furnishes the following list in compliance with Fed. R. App. P. 26.1 and

Circuit Rule 26.1:

1.    The full name of the only party represented is Darrick C. Boroczk.

2.    Darrick C. Boroczk is a natural person and not a corporation.

3.    In both the district court and the Court of Appeals, the Federal Defender

      Program has been and is the only law firm to appear on behalf of Mr.

      Boroczk.




                                             s/ William H. Theis
                                               William H. Theis




Dated: May 17, 2012




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                        JURISDICTIONAL STATEMENT

      This is a direct appeal of the sentence imposed for a criminal conviction.

The prosecution was brought under 18 U.S.C. §§ 2251(a) and 2252A(a)(5)(B). The

district court had jurisdiction of this case under 18 U.S.C. § 3231. This Court has

jurisdiction under 28 U.S.C. § 1291 and 18 U.S.C. § 3742. The judgment and

conviction in this case was entered on December 27, 2011. A timely notice of

appeal was filed on January 4, 2012. No motions that would have tolled the time

for filing an appeal were filed.

                        ISSUES PRESENTED FOR REVIEW

      1. In this child pornography case, the district court imposed a 70-year

sentence on a 34-year-old man with no prior record. The district court explained

that it chose this sentence because it believed that the defendant was certain to re-

offend for the rest of his life. Was this sentence procedurally unreasonable, since

the district court did not consider a key fact that conflicted with the court’s

prognosis?

      2. Was the 70-year sentence substantively reasonable?

                           STATEMENT OF THE CASE

      The indictment charged Mr. Boroczk under 18 U.S.C. § 2251(a) with four

counts of using a minor under the age of 18 to engage in sexually explicit conduct



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for the purpose of making a visual depiction of that conduct. A fifth count

charged him under 18 U.S.C. § 2252A(a)(5)(B) with possessing a computer hard

drive that contained video images of child pornography. Mr. Boroczk pleaded

guilty to the five counts. The district court sentenced him to 15 years on each of

the first four counts and to ten years on the fifth count, with the sentences to run

consecutively, producing a sentence of 70 years in prison. This appeal challenges

the sentence imposed.

                            STATEMENT OF FACTS

Indictment and Plea

      As Mr. Boroczk stated at his sentencing, his conduct, as spelled out in the

indictment was “very monstrous.” Tr. 158; A. 14.

      Each of Counts 1 through 4 charged Mr. Boroczk with taking pornographic

photos or videos of his daughter, who was three years old in 2006, when the

photo in Count 1 was taken. The images in Counts 2 through 4 were taken in

2007 and 2008. Count 5 charged him with possession of a computer hard drive

that contained 300 photos and videos of his daughter and his son, in addition to

8,452 photos and 186 videos of child pornography involving other children.

Gov’t Version of the Offense 1-3, attached to the PSR.




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      Mr. Boroczk pleaded guilty to all five counts in the indictment. There was

no plea agreement, but Mr. Boroczk filed a plea declaration. R. 28. He also signed

an agreed statement of facts that amplified the allegations in the indictment. As

recited in the agreed statement of facts, the photo in Count 1 showed his naked

daughter lying on her back with his erect penis pressing against her vagina. The

photo in Count 2 shows his daughter with her genitals exposed, and he is

holding his erect penis in his hand. R. 27, at 2. The video in Count 3 shows his

daughter’s genitals exposed to the camera, and at various times he touches her

vagina and performs oral sex on her. The video in Count 4 shows his daughter’s

genitals, and he touches and kisses her breasts and her vagina. As charged in

Count 5, his computer’s hard drive contained numerous still and video child

pornography images. The images referenced in Counts 1 and 2 were sent to other

individuals over the internet. R. 27, at 1-3, which relates uncharged relevant

conduct.

Pre-sentencing Submissions

      The defense presented written reports from two psychologists to explain

why Mr. Boroczk, who had no previous criminal record, had the potential for

rehabilitation. Shortly after his arrest, Mr. Boroczk voluntarily began weekly

counseling sessions with Dr. Mickey Morgan, a licensed psychologist. Dr.



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Morgan authored two reports in which he presented expert opinion that Mr.

Boroczk had already taken major steps toward rehabilitation and had good long-

term prospects for rehabilitation. In his report dated December 1, 2010, R. 40, Ex.

I, Dr. Morgan documented Mr. Boroczk’s initial belief that he had done nothing

harmful to his children. Through their weekly counseling sessions, spanning over

a year from arrest to the date of the report, Mr. Boroczk came to understand that

his conduct had indeed been harmful. Dr. Morgan attributed this initial

reluctance to Mr. Boroczk’s addiction to internet pornography. By December

2010, Mr. Boroczk fully accepted the wrongfulness of his conduct. Dr. Morgan

concluded, “Clinical prognosis for successful long-term rehabilitation is excellent

with continued sincere efforts in treatment.” Id. at 3.

        Dr. Morgan continued to treat Mr. Boroczk, and he wrote a second report

on July 21, 2012, shortly before the sentencing date. Dr. Morgan related Mr.

Boroczk’s steady progress. He opined that Mr. Boroczk’s “specific type of

Internet originated pedophilia addiction is one of the most treatable” and that

Mr. Boroczk “tends to have a significantly better prognosis not to re-offend.” Id.

at 4.

        The court also received a 22-page report from Dr. Michael H. Fogel, R. 40,

Ex. J, a board-certified forensic psychologist. Dr. Fogel was requested to give an



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opinion on Mr. Boroczk’s rehabilitative potential and his risk for future hands-on

sexual offending. Dr. Fogel recounted Mr. Boroczk’s path from viewing adult

pornography on the internet to viewing child pornography and eventually

creating child pornography. Pornography can become an addiction, and as with

any addiction, the addict can crave stronger forms of the addictive material. Mr.

Boroczk’s case illustrated the course of an addiction.

      Dr. Fogel concluded that Mr. Boroczk was at low risk to commit a future

hands-on sexual offense. Mr. Boroczk lacked many of the static (unchangeable)

factors that lead to recidivism. “Empirically-based risk factors that do not apply

to Mr. Boroczk include prior criminal history, prior sexual offending, resistance

to rules and supervision, employment instability, having never been married,

and stranger or unrelated victims.” Id. at 20-21. Through counseling, Mr. Boroczk

had come to acknowledge the destructiveness of his addictive behavior. Dr. Fogel

saw no barriers to a successful treatment outcome. Mr. Boroczk did not suffer

from any type of mental illness that would preclude successful treatment. Dr.

Fogel specifically noted that the scientific consensus is that incest offenders have

a lower recidivism rate than non-incest sex offenders. Id. at 21. In reaching these

conclusions, Dr. Fogel relied on 10 hours of forensic interviews with Mr. Boroczk,

an interview of Dr. Morgan, various case-related documents, and psychological



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testing (the test administration was not counted as part of the 10 hours of

interviews).

      The court also received a letter from Mr. Boroczk, as well as letters from

family members and friends. R. 40, Exs. B, G, L, N, O. Among those writing

letters were his 13-year-old twin brother and sister. Each attested to a close

relationship with him and his positive influence. Ex. O.

      Shortly before the sentencing hearing, the government presented a two-

page report from Dr. Tracy L. Rogers. R. 40, Ex. P. She reviewed Dr. Fogel’s

report and voiced the opinion that Dr. Fogel did not have “sufficient evidence to

offer an opinion on risk at this time.” Specifically, she faulted Dr. Fogel for not

using actuarial measures of risk for re-offending, for not employing penile

plethysmograph (PPG) testing, and for not reporting whether Mr. Boroczk could

be classified as a pedophile. Her opinion was limited to her perceived short-

comings of Dr. Fogel’s report, and she did not provide her own assessment of

risk, since she readily admitted that she had not examined Mr. Boroczk or

considered his case in light of the methodologies she maintained should have

been employed.

      The government presented to the probation department a government’s

version of the offense. Attached to this version of the offense was a report of



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interview with Mr. Boroczk, who was questioned shortly after his arrest. In

addition to admitting the conduct that would become the counts in the

indictment, Mr. Boroczk stated to the arresting agents that his children seemed to

be having a good time while he was photographing them. He did not think he

was hurting them. He never forced them to do anything. If they had protested, he

would have stopped. Page 11 of interview report, attached to PSR.

      The PSR calculated Mr. Boroczk’s adjusted guidelines level to be 43. He

was placed in criminal history category I, since he had no prior offenses. His

advisory guidelines sentence was life in prison, although none of the five counts

carried a maximum sentence of life. Ultimately, the defense had no objection to

the probation officer’s calculation of the guidelines, but it requested a below-

range sentence in the neighborhood of 15 years, the mandatory minimum for any

one of the first four counts.

Sentencing Hearing

      Dr. Fogel and Dr. Rogers each testified at the sentencing hearing. The court

also heard victim impact statements, as well as Mr. Boroczk’s allocution.

      At the hearing, Dr. Fogel reviewed his meetings with Mr. Boroczk. Based

on psychological testing, he concluded that Mr. Boroczk had approached the

evaluation process in an open and honest manner. Tr. 25. Dr. Fogel reiterated his



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opinion that Mr. Boroczk was at low risk to commit a contact sex offense in the

future. Tr. 29. He noted that incest offenders have a lower recidivism rate than

non-incest offenders. Studies have concluded that for incest offenders, there is a

13% rate of recidivism over a 15-year period. Tr. 30. Also, Mr. Boroczk had no

prior criminal history, had a stable employment history, and had a long-term

family situation. These factors supported a low-risk finding. Tr. 31-32.

      In addition, since Mr. Boroczk was facing a minimum of 15 years in prison,

his age at the time of release from a 15-year sentence would be a factor

supporting a low-risk assessment. Tr. 45. Although Dr. Fogel’s written report had

not specifically dealt with the risk of Mr. Boroczk’s committing another child

pornography offense, Dr. Fogel testified that Mr. Boroczk was at low risk of

committing a non-contact child pornography offense. Tr. 38.

      He further testified that after being informed of Dr. Rogers’ letter, he went

back and conducted an actuarial assessment of Mr. Boroczk, as recommended by

Dr. Rogers, and that the actuarial assessment paralleled his view that Mr.

Boroczk was in the low-risk category. Tr. 46. Finally, he explained that the label

pedophile did not have any impact on his assessment of risk for Mr. Boroczk. Tr.

52.




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      The government’s cross-examination focused on the issue of pedophilia,

Tr. 59-65, which Dr. Fogel dismissed as a label that did not tell the whole story of

recidivism. The government attempted to impeach Dr. Fogel by referring to an

unpublished Illinois Appellate Court opinion that reviewed a proceeding under

the Illinois Sexually Violent Persons Commitment Act in which Dr. Fogel had

testified for the state in favor of commitment. People v. Vance, 2011 Ill. App.

Unpub. LEXIS 1659 (Ill. App. 2011). The government did not proffer a transcript

of Dr. Fogel’s testimony in Vance. Instead, it relied on the unpublished appellate

opinion, which summarized the testimony of Dr. Fogel and a colleague; the

summary did not attribute specific testimony to either doctor individually, but

instead presented what seems to have been a composite of testimony given by

the two doctors. According to this composite summary, Dr. Fogel and his

colleague believed Vance was a pedophile, but their opinion of his risk for

recidivism was based on several factors beyond the pedophilia label. Vance

lacked remorse for his conduct, violated terms of his supervised release, and

failed to complete sex offender treatment. In addition, his supervised release was

violated after his parole officer searched his apartment and found a number

disturbing items: weapons, child pornography, and letters with a 15-year-old

discussing sexual topics.



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      At the hearing, Dr. Rogers repeated her criticisms of Dr. Fogel’s opinion.

She did not offer any opinion as to Mr. Boroczk’s risk of re-offending. Tr. 105,

115. She did acknowledge that Dr. Fogel’s scoring of the actuarial test was correct

and that the test results placed Mr. Boroczk in a low risk category for recidivism.

Tr. 119. She maintained her position that Mr. Boroczk should have been subjected

to PPG testing, but admitted that there are doubts about the validity of the

procedure. Tr. 117.

District Court’s Statement of Reasons

      At the conclusion of the hearing, the district court explained its sentence. It

began with the observation that the calculated guideline range was life in prison.

Tr. 159; A. 15. It then turned to a consideration of the factors set forth in 18 U.S.C.

§ 3553. It characterized the offense as one that “no civilized society can possibly

allow no matter what the circumstances.” Id. It regarded the need for general

deterrence as high, since the offense cannot be tolerated. But it focused most of its

attention on specific deterrence and protection of the public, factors that it

viewed as intertwined.

      Turning to the testimony of the two experts, it found that “Dr. Fogel’s

opinion as to the risk of recidivism is just simply not sufficiently reliable.” Tr.

160; A. 16. This finding was based, in part, on the court’s belief that “some of Dr.



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Rogers’ criticisms [were] valid,” Tr. 160; A. 16, although the court did not identify

which of those criticisms were valid. The court also declared that Dr. Fogel’s

testimony about the significance of a pedophilia diagnosis was “confusing,” since

the court believed Dr. Fogel’s testimony in this case was “irreconcilable” with his

testimony in the Vance case. Tr. 161; A. 17. The court made no mention of Dr.

Morgan’s reports nor of Dr. Fogel’s reliance on Dr. Morgan’s reports.

      The court placed emphasis on Mr. Boroczk’s statement immediately after

arrest. The court believed that his statement “reflect[ed] a total lack of

comprehension of how any such conduct was inherently and permanently

harmful to his children.” Tr. 161; A. 17. This mindset, the court observed, gave a

clue to the “real risk for the future.” Tr. 161; A. 17. The court stated its belief that

Mr. Boroczk for the rest of his life was certain to re-offend and that no amount of

supervision could possibly protect other children in the future from Mr. Boroczk.

Tr. 161-62; A.17-18.

      The court imposed a sentence of 70 years in prison. The sentencing package

consisted of 15 years on each of the first four counts and 10 years on the fifth

count, with all five sentences to be served consecutively to the others. Tr. 162; A.

18. The court further recommended that while in prison Mr. Boroczk participate

in a sex offender treatment program. The court also ordered a lifetime term of



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supervised release, with a number of conditions, including sex offender

treatment, non-access to a computer, and no contact with minors. Tr. 162-63; A.

18-19.

         Mr. Boroczk filed a timely notice of appeal. His projected release date is, as

reflected on the Bureau of Prisons website, July 24, 2070.

                          SUMMARY OF THE ARGUMENT

         The district court’s sentence was procedurally flawed. It imposed a

sentence of 70 years on Mr. Boroczk, a first-time offender, because the court

believed Mr. Boroczk was certain to recidivate for the rest of his life. In making

this prognosis, the court passed over without comment undisputed evidence that

stood in the way of the court’s conclusion.

         This procedurally flawed sentence was also substantively unreasonable.

Congress has declared that 30 years is the maximum punishment for the conduct

in question. That the government chose to charge five counts in the indictment

provided no warrant for a sentence of 70 years.

                              STANDARD OF REVIEW

         The Court applies de novo review to sentencing procedures. That review

includes the district court’s calculation of the guidelines, the district court’s

consideration of the sentencing factors found in 18 U.S.C. § 3553(a), and the



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district court’s statement of the factors upon which the individual sentence is

based. United States v. Pennington, 667 F.3d 953, 956 (7th Cir. 2012).

      When a defendant challenges the substantive reasonableness of a sentence,

the standard of review is abuse of discretion. Gall v. United States, 552 U.S. 38, 51

(2007).

                                   ARGUMENT

I.    The district court’s 70-year sentence was procedurally unreasonable,
      since the district court did not fully consider Mr. Boroczk’s substantial
      argument that he had the capacity to be rehabilitated.

      Under the sentencing guidelines, Mr. Boroczk’s advisory range was life in

prison. He argued for a below-range sentence of 15 years in prison, the

mandatory minimum for Counts 1 through 4. In response, after referring to the

calculated range as the “start” of the sentencing process, the district court

concluded that a sentence of 70 years in prison would be imposed. This decision

was procedurally flawed.

      After United States v. Booker, 543 U.S. 220 (2005), the sentencing guidelines

are advisory, and a district court has the authority to give a non-guidelines

sentence. The district court is not allowed to presume that a guideline sentence is

the proper sentence in any case. Rather, the court must consider the factors set

forth in 18 U.S.C. § 3553(a) in determining the proper sentence. That injunction



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has special force when the court, as it did in this case, imposes consecutive terms.

Under 18 U.S.C. § 3584(b), the court is specifically commanded to consider the

section 3553(a) factors when it imposes consecutive terms of imprisonment.

      This Circuit has emphasized that the district court must respond to a

defendant’s non-frivolous arguments for a below-range sentence and “must state

its reasons for rejecting a defendant’s principal arguments if the arguments have

merit.” United States v. Villegas-Miranda, 579 F.3d 798, 801 (7th Cir. 2009). In

fulfilling that duty, the district court must do more than give a generalized

statement that it has considered the arguments of the parties. United States v.

Cunningham, 429 F.3d 673, 676 (7th Cir. 2005). The record must confirm that, “the

judge has given meaningful consideration to the [18 U.S.C.] section 3553(a)

factors.” United States v. Buretz, 411 F.3d 867, 878 n.11 (7th Cir. 2005). This

requirement was emphatically confirmed in Gall v. United States, 552 U.S. 38, 50

(2007), in which the Court confirmed that the district court “must adequately

explain the chosen sentence to allow for meaningful appellate review and to

promote the perception of fair sentencing.” A district court’s compliance with

this directive is considered under a de novo standard of review. United States v.

Pennington, 667 F.3d 953, 956 (7th Cir. 2012).




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      Mr. Boroczk argued that he had the capacity to be rehabilitated; that is, his

risk of recidivism was low enough that a 15-year sentence, the mandatory

minimum on Counts 1 through 4, would be sufficient to satisfy the sentencing

factors set out in 18 U.S.C. § 3553(a). In response, the district court imposed a 70-

year sentence. The district court concluded that Mr. Boroczk for the rest of his life

would be certain to commit another hands-on offense. In reaching this

conclusion, the district court focused on two facts: (1) Mr. Boroczk repeatedly

molested his own children; and (2) shortly after his arrest, he stated that he did

not think his actions harmed them in any way. This conclusion was procedurally

flawed, since the court did not acknowledge three strands of evidence that were

substantial obstacles to this conclusion.

      Before analyzing the shortcomings of the court’s conclusion, it is essential

to grasp the court’s holding. Although Mr. Boroczk presented expert testimony

that he had a low risk of re-offending after being released from a 15-year

sentence, the mandatory minimum, the court’s conclusion went well beyond a

rejection of that position. Instead, the court concluded that Mr. Boroczk was

certain to re-offend for the rest of his life. The court had no expert opinion to that

effect, certainly none from the government’s witness, who initially refused to

render an opinion about Mr. Boroczk’s risk of re-offending, but at the hearing



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admitted that the actuarial test she championed put him in the low-risk

category.1 And regardless of what the court thought of Dr. Fogel’s opinion, its

rejection of that testimony would not affirmatively support a judgment of certain

recidivism for the rest of Mr. Boroczk’s life.2 That judgment, as reported above,

rested solely on the court’s belief that when one repeatedly molests one’s own

children and shows no remorse, one will always be certain to recidivate. That

belief, however, was in marked tension with the actual record, and the court

made no effort to explain why it chose to ignore substantial evidence in the

record.

      First, although Mr. Boroczk’s molesting his own children was despicable

and horrific, it hardly made him a certain recidivist for the rest of his life. The

undisputed evidence in the record was that incest offenders are less likely to re-

offend than extra-familial offenders, Tr. 30, testimony supported by the scientific


      1
         It should be noted that the government’s witness thought any assessment
should be based on additional tools, like PPG, but the point is that neither witness
supplied the court with the basis for its extreme prognosis that Mr. Boroczk was certain
to re-offend for the rest of his life.
       2
         The district court thought Dr. Fogel’s testimony about pedophilia was
confusing and irreconcilable with his testimony in Vance. But the district court made no
effort to square that thought with the fact that incest pedophiles generally have the
lowest rate of reoffense. One study of incest offenders has reported that over a 12-year
period only 6.4% had committed a new sexual offense, which compares to a 15.1% rate
for extrafamilial sex offenders. Karen Gelb, Recidivism of Sex Offenders Research Paper 26
(2007) (Sentencing Advisory Council, State of Victoria, Australia), available at
http://www.secasa.com.au/reports/Recidivism_Sex_Offenders_Research_Paper.pdf.

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only 6.4% had committed a new sexual offense, which compares to a 15.1% rate

for extrafamilial sex offenders. Karen Gelb, Recidivism of Sex Offenders Research

Paper 26 (2007) (Sentencing Advisory Council, State of Victoria, Australia),

available at http://www.secasa.com.au/reports/

Recidivism_Sex_Offenders_Research_Paper.pdf. If the court wanted to reject the

accepted data in this field, which supported Dr. Fogel’s testimony, it should at

least be required to make that rejection explicit and then explain why it was

rejecting the data. Otherwise, its conclusion merely masks an understandable

revulsion for the defendant’s conduct, but does nothing to focus on the subject

under consideration—future risk.

      Second, on the issue of remorse, the court ignored a key part of the record,

focusing on Mr. Boroczk’s statement immediately upon arrest and not dealing

with the progress Mr. Boroczk had made during the many months between

arrest and sentencing. Both Dr. Morgan and Dr. Fogel expressed the opinion that

Mr. Boroczk had good prospects to be rehabilitated and not to re-offend. Dr.

Morgan’s reports were particularly important, since he detailed Mr. Boroczk’s

transition over many months from denial that he had done anything wrong to

acceptance that he had indeed engaged in harmful conduct.



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      Yet the district court made no mention of Dr. Morgan’s reports, nor did it

question the sincerity of Mr. Boroczk’s statements during his counseling sessions

with Dr. Morgan or in allocution. Instead, the court focused on Mr. Boroczk’s

statement shortly after his arrest that he did not think his conduct hurt his

children. “I find the defendant’s own statements at the time of his arrest most

revealing. . . . And, therein, it appears to me, lies the real risk for the future.” Tr.

161; A. 17. But the court made no mention of the fact that Mr. Boroczk’s warped

view had been straightened out as the result of numerous counseling sessions

with Dr. Morgan. Yes, Mr. Boroczk had at one time harbored a totally

unacceptable belief, and, as noted in Dr, Morgan’s report, he adhered to that

belief for a considerable period of time. By the time of sentencing, however, Mr.

Boroczk had abandoned that belief and had demonstrated genuine remorse, a

precondition to rehabilitation. Dr. Morgan documented this transformation and

gave the expert opinion that Mr. Boroczk had great potential for rehabilitation.

The court’s resolution of the rehabilitation issue proceeded as if there had been

no weekly counseling sessions with Dr. Morgan and no reports by Dr. Morgan

attesting to Mr. Boroczk’s rehabilitative potential.

      If the court had considered Dr. Morgan’s reports and had rejected them

with an explanation of why it found the reports wanting, this Court would



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review any factual findings for clear error and would review the reasonableness

of the court’s conclusion about rehabilitation potential. But the district court

made no mention of Dr. Morgan’s reports and gave this Court no basis to

perform its duty as a reviewing court. As noted above, a district court has a duty

to acknowledge and comment upon significant information brought to its

attention. Mr. Boroczk’s post-arrest statement reflected a totally unacceptable

mindset, but the court erred in ignoring evidence that Mr. Boroczk had

abandoned this mindset. The court was not obliged to accept this evidence, but it

was not allowed to act as if this evidence were not a part of the record. A district

court does not provide procedural justice when it ignores significant information

that is at odds with its bottom-line decision. In this case, the district court’s

finding about rehabilitative potential is flawed and impermissible because it gave

no consideration to a significant piece of information that bore directly on the

sentencing factor uppermost in the court’s mind.

      The district court ignored another important strand of evidence in the

record. All the scientific studies agree that the risk of re-offending, for sex

offenders in particular and for all offenders in general, decreases with the

offender’s advancing age. Harris et al., Sex Offender Recidivism: A Simple Question,

Appendix I, Figure 5 (2004), available at www.psepc-sppcc.gc.ca. Yet the district



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court in considering a middle-aged man who was facing a minimum of 15 years

in prison made no mention of this important factor; it turned a blind eye to a fact

that has real significance for risk prediction.

II.    The district court’s 70-year sentence was substantively unreasonable.

       Even though a sentence may have been imposed in a procedurally

reasonable manner, it can nonetheless be substantively unreasonable. A sentence

is substantively unreasonable if it exceeds punishment that is “sufficient, but not

greater than necessary,” to comply with the goals of 18 U.S.C. § 3553(a)(2). In Rita

v. United States, 551 U.S. 338 (2007), the Supreme Court recognized that all

sentences are open to review for both procedural and substantive reasonableness.

Rita declared that a sentence within the defendant’s calculated range carries a

presumption of substantive reasonableness, but Rita also cautioned that the

“presumption is not binding. It does not, like a trial-related presumption, insist

that one side, or the other, shoulder a particular burden of persuasion or proof

lest they lose their case.” Id. at 347.

       A.     The 70-year sentence in this case carries no presumption of
              reasonableness.

       A Rita presumption should not apply to this case. Rita did not deal with

and does not control a situation in which the guideline range exceeds the

statutory maximum and the court stacks consecutive sentences. Moreover, a


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statutory provision imposes a framework that is in no way tied to the Rita

presumption. Section 3584 of Title 18, U.S. Code, a section enacted in 1984, deals

with the imposition of concurrent and consecutive sentences. When sentences for

multiple offenses are imposed at the same time, the court can make them either

concurrent or consecutive. If the court makes no specific statement, then the

sentences will run concurrently. Section 3584 establishes, then, a presumption in

favor of concurrent sentences. The court must “consider, as to each offense for

which a term of imprisonment is being imposed, the factors set forth in section

3553(a).” This consideration extends to the designation of consecutive versus

concurrent, as well as to the sentences attached to each count.3 Although judges

have broad discretion to choose between consecutive and concurrent sentences,


      3
         Section 3584 provides as follows:
(a) Imposition of concurrent or consecutive terms.--If multiple terms of imprisonment
are imposed on a defendant at the same time, or if a term of imprisonment is imposed
on a defendant who is already subject to an undischarged term of imprisonment, the
terms may run concurrently or consecutively, except that the terms may not run
consecutively for an attempt and for another offense that was the sole objective of the
attempt. Multiple terms of imprisonment imposed at the same time run concurrently
unless the court orders or the statute mandates that the terms are to run consecutively.
Multiple terms of imprisonment imposed at different times run consecutively unless the
court orders that the terms are to run concurrently.
(b) Factors to be considered in imposing concurrent or consecutive terms.--The court, in
determining whether the terms imposed are to be ordered to run concurrently or
consecutively, shall consider, as to each offense for which a term of imprisonment is
being imposed, the factors set forth in section 3553(a).
(c) Treatment of multiple sentence as an aggregate.--Multiple terms of imprisonment
ordered to run consecutively or concurrently shall be treated for administrative
purposes as a single, aggregate term of imprisonment.

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Setser v. United States, 132 S. Ct. 1463, 1468 (2012), section 3584 has placed a

constraint on that discretion that did not previously exist.

       The Sentencing Commission has promulgated a guideline that attempts to

implement section 3584. That guideline, U.S.S.G. § 5G1.2(c),4 favors concurrent

terms. However, under U.S.S.G. § 5G1.2(d),5 if the guideline sentence exceeds the

statutory maximum on the count with the highest penalty, then the court is

advised to impose the maximum sentence on that count, and impose consecutive

sentences on other counts to bring the total sentence within the calculated range.

       Guideline section 5G1.2(d) stands in tension with 18 U.S.C. § 3584(b). The

statutory provision singles out consecutive sentences for special consideration;

the court is required to consider the requirements of section 3553(a) as they relate

to each count. This required procedure is much more refined than the rule stated

in U.S.S.G. § 5G1.2(d), since the guideline favors consecutive sentences and the

statute does not. Although, as with any guideline in the post-Booker world, the


       4
        U.S.S.G. § 5G1.2(c) provides as follows: If the sentence imposed on the count
carrying the highest statutory maximum is adequate to achieve the total punishment,
then the sentences on all counts shall run concurrently, except to the extent otherwise
required by law.
       5
         U.S.S.G. § 5G1.2(d) provides as follows: If the sentence imposed on the count
carrying the highest statutory maximum is less than the total punishment, then the
sentence imposed on one or more of the other counts shall run consecutively, but only
to the extent necessary to produce a combined sentence equal to the total punishment.
In all other respects, sentences on all counts shall run concurrently, except to the extent
otherwise required by law.

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court must nonetheless consider section 3553(a), section 3584(b)

emphasizes—and has emphasized since 1984—that a consecutive sentence calls

for focused attention on the requirements of section 3553(a). A Rita presumption

does not mesh with the statutory presumption.

      Nor is it clear that, even apart from section 3584(b), the district court

imposed the sort of guideline sentence to which Rita would give a presumption.

Under section 5G1.2(d), to implement a life sentence, the court was supposed to

impose the maximum sentence of 30 years on Count 1, and then impose

consecutive sentences on the others counts until the total sentence reached “life.”

The district court strayed from this advice in two ways. First, it imposed the

minimum sentence on each of the four counts, albeit to run consecutively, a

sentencing package at odds with the guideline. Second, a sentence of 70 years

should be considered above the range of life. The Sentencing Commission treats

life sentences as 470 months. U.S. Sentencing Commission, Sourcebook of Federal

Sentencing Statistics, Appendix A (2011), available at http://www.ussc.gov/ Data

_and_Statistics/ Annual_Reports_and_Sourcebooks/2011/SBTOC11.htm. For

these reasons, it is a misnomer to say that the 70-year sentence is within the

range, and the 70-year sentence is not entitled to a Rita presumption.




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B.    Regardless of whether the 70-year sentence in this case carries a
      presumption of reasonableness, the sentence is unreasonable, since it is
      more than necessary to comply with the goals set out in 18 U.S.C. §
      3553(a)(2).

      As all recognize, there is no specific amount of years that can be called a

reasonable sentence, with the result that all other sentences are deemed

unreasonable. Reasonableness denotes a range, not a specific point on a range.

This insight reflects that a sentence must be judged in light of all four goals set

forth in 18 U.S.C. § 3553(a)(2), but that these goals do not provide an algorithm.

Nonetheless, the 70-year sentence imposed in this case does not fall anywhere

within a range that would be considered reasonable.

      We start with the undeniable fact that the maximum statutory sentence on

each of the first four counts was 30 years. Congress believed that a sentence of 30

years or less for this offense would satisfy the requirements of 18 U.S.C. §

3553(a)(2). There is no reason to think that four instances of the same conduct

would call for 120 years in prison. Mr. Boroczk’s four offenses did not make him

four times more dangerous or four times more likely to re-offend.

      Although the judge had the authority to consider a sentence of 120 years,

that theoretical possibility by no means indicates that such a sentence would be

reasonable, especially when the possibility is driven entirely by the prosecutor’s

decision to charge four counts instead of one. One can find numerous instances of


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a prosecutor’s charging only one offense under 18 U.S.C. § 2251(a), even though

the defendant committed additional offenses of the same sort. E.g., United States

v. Huffstatler, 571 F.3d 620 (7th Cir. 2009) (defendant also had a record of

numerous violent felonies); United States v. Beier, 490 F.3d 572 (7th Cir. 2007). The

charging decision to bring multiple counts does not validate a stacking of

consecutive sentences. Although the executive has the authority to charge

multiple offenses, that discretion does not rationalize the total sentence imposed

by the court.

      When we look at the goals embodied in 18 U.S.C. § 3553(a)(2), they do not

point to 70 years as a sentence that resides in a reasonable range. A sentence over

30 years amounts to “overkill.” A sentence of 70 years is especially excessive in

relation to the need to protect the public and provide specific deterrence to Mr.

Boroczk, the two goals that weighed most heavily with the district court. Dr.

Fogel’s assessment put Mr. Boroczk at a low risk of re-offending.

      Even if the district court might harbor a fear that 15 years down the road

Mr. Boroczk would still be a threat to child victims, the law provides a workable

mechanism for dealing with that possibility. Under 18 U.S.C. § 4248, the

government can institute civil commitment proceedings against a person who is

thought to be sexually dangerous. That proceeding would examine Mr. Boroczk’s



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situation after many years of imprisonment, including, if the Bureau of Prisons

follows the court’s recommendation, sex offender treatment. That proceeding

would take into account an extensive history that would be developed during a

substantial period of incarceration and treatment. When the tool of civil

commitment was available, and when Mr. Boroczk had a good prospect for

rehabilitation, it was unreasonable to impose imprisonment in excess of the 30-

year maximum decreed by Congress.

                                 CONCLUSION

      For these reasons, it is respectfully requested that the case be remanded for

re-sentencing in accordance with the Court’s opinion.

      Dated this 17th day of May, 2012, at Chicago, Illinois.

                                      Respectfully submitted,

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          CERTIFICATE PURSUANT TO APPELLATE RULE 32(a)(7)


      I, William H. Theis, hereby certify that this brief complies with the type

volume limitation of Federal Rule of Appellate Procedure 32(a)(7), in that

Petitioner-Appellant opening brief contains 5,984 words. This certification is

based on the word count of Corel Word Perfect 14.0, the word processing

program used in preparing Petitioner-Appellant’s opening brief.


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Dated: May 17, 2012




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      APPENDIX STATEMENT PURSUANT TO CIRCUIT RULE 30(d)

      The undersigned, counsel for Appellant, hereby states that all of the

materials required by Circuit Rules 30(a) and 30(b) are included in the Appendix,

filed and bound herewith.



                                      Respectfully submitted,

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                           CERTIFICATE OF SERVICE


      I, William H. Theis, certify that on May 17, 2012, I electronically filed the

foregoing with the clerk of the Court for the United States Court of Appeals for

the Seventh Circuit by using the CM/ECF system. I certify that all participants in

the case are registered CM/ECF users and that service will be accomplished by

the CM/ECF system.




                                                     s/ William H. Theis
                                                      William H. Theis


Dated: May 17, 2012




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                                   A. 2
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                                   A. 3
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                                   A. 4
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                                   A. 5
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                                   A. 6
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                                   A. 7
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                                   A. 8
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                                   A. 9
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                                   A. 10
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                                                                                1

  1                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
  2                               EASTERN DIVISION

  3    UNITED STATES OF AMERICA,                )
                                                )
  4                   Plaintiff,                )
                                                )
  5      v.                                     )   No. 09 CR 647
                                                )
  6    DARRICK C. BOROCZK,                      )   Chicago, Illinois
                                                )   August 2, 2011
  7                   Defendant.                )   10:30 a.m.

  8                   TRANSCRIPT OF PROCEEDINGS - SENTENCING
                       BEFORE THE HONORABLE RONALD A. GUZMAN
  9

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                                   A. 11
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  1               MR. PERCONTE:      We are, Judge.

  2               THE COURT:     Should we take up the issues with respect

  3    to the presentence investigation first?

  4               MR. PERCONTE:      I think that makes sense, your Honor.

  5               THE COURT:     I believe there was essentially one

  6    objection to the PSI; is that correct?

  7               MS. KIM SKINNER:         Judge, I'm sorry.     I did file

  8    objections to the presentence report; and it was based on the

  9    way that the presentence report was written and what factual

 10    basis they were using to apply the four-level enhancement.                     I

 11    did receive the government's sentencing memorandum in which

 12    they provide an alternative basis for the enhancement.                   And

 13    based on their --

 14               THE COURT:     You're talking about the possession of

 15    depictions of --

 16               MS. KIM SKINNER:         Sadistic or masochistic conduct.

 17               THE COURT:     Okay.

 18               MS. KIM SKINNER:         Based on the government's

 19    submission, I am not -- I'm not objecting anymore.

 20               THE COURT:     You're going to withdraw the objection?

 21               MS. KIM SKINNER:         I'll withdraw it.

 22               THE COURT:     Okay.      I take it then that both sides are

 23    in agreement with the presentence investigation report's

 24    calculation of a total offense level of 43 and a Criminal

 25    History Category I; is that correct?




                                   A. 12
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  1                MR. PERCONTE:     That's correct, Judge.

  2                MS. KIM SKINNER:        Yes.

  3                THE COURT:    Which means that the guideline sentencing

  4    range is life in prison, which is greater than what is

  5    available pursuant to the statutes; therefore, the guideline

  6    sentencing range defaults to the statute's maximum range.                Is

  7    everyone in agreement with that?

  8                MS. KIM SKINNER:        We are.

  9                MR. PERCONTE:     Yes, Judge.      And that, here, is 130

 10    years, I think, when all the maximums are totaled together.

 11                MS. KIM SKINNER:        With a minimum of 15.

 12                THE COURT:    30-year maximum as to each of Counts One

 13    through Four and a ten-year maximum as to Count Five.

 14                MR. PERCONTE:     That's correct, Judge.

 15                THE COURT:    Okay.      That being said, evidence with

 16    respect to sentencing.

 17                MS. KIM SKINNER:        We do, Judge.    We would like to

 18    call a witness, Dr. Michael Fogel.

 19                THE COURT:    You may do so.

 20                Sir, why don't you stand right up here.            Remain

 21    standing.     Raise your right hand.

 22                MICHAEL H. FOGEL, DEFENDANT'S WITNESS, SWORN

 23                                DIRECT EXAMINATION

 24    BY MS. KIM SKINNER:

 25    Q.   Can you please state your name and spell your last name




                                   A. 13
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   1    with.    I did some very monstrous things.           That's -- after I

   2    was brought up to Ozaukee originally, I decided that that's

   3    not what I wanted to be or who I wanted to be; so that's when

   4    I got involved with the counseling and got into the bible

   5    studies and decided to try and -- you know, start trying to

   6    make up for what I did because I don't want to be that person.

   7    I just don't, you know, know how I could ever completely try

   8    and, you know, express my -- how I feel for what I did, you

   9    know.                                      , but everyone that --

  10    involved.     You know, I can't say I won't deserve whatever you

  11    give me.     You know, I just would really like another chance in

  12    society and to prove that, you know, I'm not that monster that

  13    I'm being made out to be.           There's so much more that I would

  14    like to do with my life and, you know, even try to help heal

  15    the damage that I've done.

  16                I think that's about it, your Honor.

  17                THE COURT:    Very well.

  18                The Court has reviewed the presentence investigation

  19    report, the submissions of the parties, the exhibits that have

  20    been admitted here today and that have been submitted with the

  21    sentencing memorandum.        I take into consideration the

  22    testimony that I've heard today; the statements from the

  23    victims, both those that were read and those that came from

  24    the parties that were involved themselves; the arguments of

  25    the attorneys; and all of the facts that have been presented




                                    A. 14
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   1    to me in this regard.

   2               Let me start, as the appellate court says we must,

   3    with the guideline sentencing range.            It's been agreed that

   4    the appropriately calculated total offense level in this case

   5    is 43, Criminal History Category I, and that results in a

   6    guideline sentencing provision of life, which, according to

   7    the guidelines, defaults in this case to the maximum sentence

   8    in each of Counts One through Four and Five because those

   9    counts do not provide for a life sentence.

  10               In addition to that, of course, we must consider the

  11    3553 factors; among them, the nature, circumstances and

  12    seriousness of the offense.         The offense in this case at its

  13    essential core consists of taking advantage of innocent and

  14    defenseless children repeatedly over a prolonged period of

  15    time for the sole purpose of personal sexual gratification.

  16    That's it.

  17

  18                                                It's conduct that no

  19    civilized society can possibly allow no matter what the

  20    circumstances.

  21               There's no need to attempt to describe the effect on

  22    the victims, as that has been done effectively and in

  23    excruciating detail by the victim impact statements that have

  24    been made part of the record here today.

  25               Next, we come to the need for deterrence.              The need




                                    A. 15
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   1    for deterrence in a general sense is, as clear as I can make

   2    it, what I've just said.         This is conduct that no society, no

   3    civilized society can allow if it is to remain a civilized

   4    society.     It just simply cannot be.

   5                The need for specific deterrence and to protect the

   6    public, of course, seem to merge most of the time.               And that

   7    has been, I think, the litigation point in this entire

   8    sentencing procedure.

   9                The defendant has presented testimony by Dr. Fogel.

  10    In his opinion, the defendant is a low risk to be a repeat

  11    offender.     In this regard, the defendant's specific history

  12    is, in part, that he has no prior convictions, arrests or

  13    indications of a proclivity for such conduct in his past.

  14                The government has presented the testimony of

  15    Dr. Rogers, which, in summary, attacks the reliability of

  16    Dr. Fogel's opinion and evaluation, arguing that his analysis

  17    was not sufficiently comprehensive because it lacked the use

  18    of actuarial risk measurements, failed to administer certain

  19    psychological tests, contained no diagnostic impressions and

  20    relied upon tests which lacked predictability value for sexual

  21    offenders.

  22                After sifting through all of that testimony, I find

  23    that Dr. Fogel's opinion as to the risk of recidivism is just

  24    simply not sufficiently reliable.           Not only are some of

  25    Dr. Rogers' criticisms valid, but Dr. Fogel's own testimony,




                                    A. 16
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   1    specifically that testimony in which he indicated that he felt

   2    the determination as to whether the defendant was a pedophile

   3    would be irrelevant, was frankly confusing, especially in

   4    view, as brought out on cross-examination, of the fact that he

   5    had previously testified that because a respondent suffered

   6    from pedophilia, he was more likely to commit acts of sexual

   7    violence in the future.        I find those two statements

   8    irreconcilable.

   9               I find the defendant's own statements at the time of

  10    his arrest to be most revealing.           It appears to be clear from

  11    the way he described his conduct about what he did

  12               that he actually believed he could subject

  13               to such conduct without harming them.            His

  14    disclaimers that he would never hurt them or did not intend to

  15    hurt them or that he stopped if they informed him they were

  16    being hurt or did not want him to continue reflect a total

  17    lack of comprehension of how any such conduct was inherently

  18    and permanently harmful                              And, therein, it

  19    appears to me, lies the real risk for the future.

  20               Lacking any substantial comprehension of the violent

  21    and destructive nature of his conduct

  22                 it seems to me, the defendant most likely lacks any

  23    real motivation to restrain himself in the future, other, of

  24    course, than the motivation that comes from the fear of being

  25    caught.    But in that regard, there is no amount of




                                    A. 17
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   1    supervision, no number of protective safeguards that can

   2    possibly protect other children from this defendant in the

   3    future if he himself is not motivated.

   4               His conduct in this case, although it was his first

   5    offense, was repeated many, many times over a period of years,

   6    both                          and with respect to his prolific

   7    Internet activities, and leaves us with no doubt that he has

   8    an extreme sexual interest, both in child pornography and in

   9    actual physical sexual contact with very young children.                  And

  10    this, it seems to me, makes protection of the public paramount

  11    in this case.

  12               Based upon the totality of the circumstances before

  13    me, the Court intends to enter the following sentence:

  14    Pursuant to the Sentencing Reform Act of 1984, it is the

  15    judgment of the Court that the defendant is hereby committed

  16    to the custody of the Bureau of Prisons to be imprisoned for a

  17    term of 180 months on each of Counts One through Four and 120

  18    months on Count Five, with all counts to be served

  19    consecutively.

  20               While incarcerated it is recommended that the

  21    defendant participate in the sex offender treatment program.

  22               The Court imposes, as it must, a special assessment

  23    of $500 but waives any fine, costs of incarceration or

  24    supervised release.

  25               Upon release from imprisonment, the defendant shall




                                    A. 18
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   1    be placed on a life term of supervised release on each of

   2    Counts One through Five.         Within 72 hours of release, he must

   3    report to the probation office.

   4               While on supervised release, he shall not commit

   5    another federal, state or local crime; shall comply with the

   6    standard conditions that have been adopted by this Court and

   7    the following additional conditions:            He shall refrain from

   8    any unlawful use of a controlled substance; shall submit

   9    himself to random drug tests, not to exceed 104 tests per

  10    year.    He shall cooperate in the collection of a DNA sample.

  11    He shall not possess a firearm or any other destructive

  12    device.    He shall participate in a mental health and/or sex

  13    offender treatment program as directed by the probation

  14    officer, which may include psychological and physiological

  15    testing and also prescribed medications.             He shall register

  16    with the state sex offender registration agency in any state

  17    where he resides.       He shall comply with the requirements of

  18    the Computer and Internet Monitoring Program as administered

  19    by the United States probation officer.             Costs of monitoring

  20    to be paid by the defendant.          The defendant shall not possess

  21    or use a computer, camera or any device with access to any

  22    online computer service at any location, including any place

  23    of employment, without the prior approval of the probation

  24    officer.     He shall not possess or have under his control any

  25    pornographic, sexually oriented or sexually stimulating




                                    A. 19
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   1    materials.     He shall not patronize any place where such

   2    material or entertainment is available.             He shall not have

   3    contact with any person under the age of 18 except in the

   4    presence of a responsible adult who is aware of the nature of

   5    his background.      He shall provide the supervising probation

   6    officer with copies of his telephone bills, credit card

   7    statements, receipts and any other financial information

   8    requested.

   9               That's the Court's intended sentence.             Are there any

  10    questions?

  11               MR. PERCONTE:      Not from the government, Judge.

  12               MS. KIM SKINNER:         No, Judge.

  13               Mr. Boroczk asked whether the Court would recommend

  14    Oxford as a placement in the Bureau of Prisons.

  15               THE COURT:     I will not.      It's not my custom to make

  16    such recommendations unless there's some family crisis or

  17    illness in the family or some such situation that would

  18    require it.

  19               MR. PERCONTE:      Judge, actually I misspoke before.          I

  20    think there is a forfeiture issue, and I will send up and give

  21    to Ms. Skinner a preliminary order of forfeiture that needs to

  22    go with the sentencing judgment.           This was part of his plea.

  23    And so -- it's just the computers and everything.               I will send

  24    a proposed order up tomorrow after I allow Ms. Skinner to take

  25    a look at it.




                                    A. 20
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   1               THE COURT:     Very well.      I take it there are no other

   2    counts; is that correct?

   3               MR. PERCONTE:      No, Judge.     There were five counts.

   4               THE COURT:     And was there a waiver of appellate

   5    rights in the plea agreement?

   6               MS. KIM SKINNER:         No, there wasn't.

   7               MR. PERCONTE:      No.

   8               THE COURT:     Very well.

   9               Sir, it's my duty to advise you that you can appeal

  10    your conviction if you believe that your guilty plea was

  11    somehow unlawful or involuntary or if there is some other

  12    fundamental defect in the proceedings that was not waived by

  13    your guilty plea.       You also have a statutory right to appeal

  14    your sentence itself under certain circumstances, particularly

  15    if you think that the sentence is somehow contrary to the law.

  16               You have the right to apply for leave to appeal in

  17    forma pauperis, which means without having to pay the usual

  18    fee, and the clerk of the court will prepare and file a notice

  19    of appeal for you if you request it.

  20               With few exceptions, any notice of appeal must be

  21    filed within 14 days of the actual entry of the judgment I

  22    have announced I intend to enter in this case.

  23               Do you have any questions about your right to appeal?

  24               THE DEFENDANT:       No, your Honor.

  25               THE COURT:     Very well.




                                    A. 21
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   1               Anything else?

   2               MR. PERCONTE:        Not from the government, Judge.

   3               MS. KIM SKINNER:          Thank you, your Honor.

   4               THE COURT:     Okay.

   5                                *    *     *   *    *

   6

   7    I certify that the foregoing is a correct transcript from the
        record of proceedings in the above-entitled matter.
   8

   9
        /s/ Nancy C. LaBella                                 October 1, 2011
  10    Official Court Reporter

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                                    A. 22
